                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                              EASTERN DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                                   No. CR06-1020-LRR


 vs.                                                               ORDER
 TERRY TERRELL SAMUELS,
               Defendant.
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        This matter is before the court upon defendant’s motion for a reduced sentence
pursuant to the “First Step Act” (FSA) (docket no. 128). 1
                                   I.     BACKGROUND
        The FSA became law on December 21, 2018, and, relevant to this case, made the
“Fair Sentencing Act of 2010” retroactive. Section 404 of the FSA provides that a court
may, “impose a reduced sentence as if sections 2 and 3 of the Fair Sentencing Act of
2010 were in effect at the time the covered offense was committed.” Id. § 404(b); see
also 18 U.S.C. § 3582(c)(1)(B). The FSA defines a “covered offense” as any crime
which had its penalties modified by § 2 or § 3 of the Fair Sentencing Act of 2010. Id.
§ 404(a). Section 2 of the Fair Sentencing Act modified the statutory penalties for certain
violations of 21 U.S.C. § 841(b) related to cocaine, effectively reducing the penalty
applicable to a qualifying defendant. See also United States v. McDonald, 944 F.3d 769,
771 (8th Cir. 2019).



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        The court finds that neither the FSA nor the Federal Rules of Criminal Procedure require
a hearing or the presence of the defendant. United States v. Williams, 943 F.3d 841, 844 (8th
Cir. 2019).



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      On January 11, 2019, defendant filed a pro se motion pursuant to the FSA. (docket
no. 116). He subsequently filed several supplements and letters in support of his motion.
(docket nos. 117-124). On January 16, 2020, defendant filed an amended motion (docket
no. 128) through retained counsel. On January 17, 2020, the court entered an order
directing the government to respond.      (docket no. 129).    The Government filed a
resistance (docket no. 131) on January 27, 2020. Defendant filed two replies. (docket
nos. 132, 233).
                            II.    ORIGINAL SENTENCE
      On May 25, 2006, defendant was charged in an indictment with two counts related
to the distribution of crack cocaine. (docket no. 1). At trial, defendant was convicted of
Counts 1 and 2 of the indictment. (docket no. 51). Specifically, in Count 1, defendant
was convicted of distribution of crack cocaine in violation of 21 U.S.C. §§ 841(a)(1),
841(b)(1)(A), 841(b)(1)(B), 851, and 860 and in Count 2, defendant was convicted of
distribution of crack cocaine in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A),
841(b)(1)(B), 851, and 860. The presentence investigation report (PSIR) found defendant
had a total offense level of 37 and a Criminal History Category of VI. (docket no. 69).
Accordingly, defendant’s statutory range was life on both Counts 1 and 2, with ten years
to life of supervised release to follow. The United States Sentencing Guideline (USSG)
range was life on both counts, with ten years of supervised release on both counts. On
November 14, 2007, the court sentenced defendant to life in prison on both counts, to
run concurrently, with two concurrent ten-year terms of supervised release to follow.
(docket no. 72).
      The court denied defendant sentence reductions under retroactive USSG changes
in 2009, 2012, 2015, because he was a career offender with a mandatory minimum of
life. (docket nos. 94, 109, and 112).




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                                   III.   ANALYSIS
1.    Is Defendant Eligible for a Sentence Reduction
      Defendant argues he is eligible for a sentenced reduction pursuant to § 404 of the
FSA. As discussed above, § 404 of the FSA provides that if defendant is convicted of a
covered offense, the court may reduce a sentence as if sections 2 and 3 of the Fair
Sentencing Act of 2010 were in effect at the time the covered offense was committed.
The FSA defines a “covered offense” as any crime which had its penalties modified by
§ 2 or § 3 of the Fair Sentencing Act of 2010. Id. § 404(a). As explained by the Eighth
Circuit Court of Appeals:
      Congress enacted the Fair Sentencing Act in 2010, which reduced the
      sentencing disparity between cocaine base and powder cocaine from 100-
      to-1 to 18-to-1. Dorsey v. United States, 567 U.S. 260, 269, 132 S.Ct.
      2321, 183 L.Ed.2d 250 (2012); see Fair Sentencing Act of 2010, Pub. L.
      No. 111-220, 124 Stat. 2372. Section 2 of the Fair Sentencing Act
      increased the quantity of cocaine base required to trigger mandatory
      minimum sentences. It raised the threshold for the 5-year minimum from
      5 grams to 28 grams, and raised the threshold for the 10-year minimum
      from 50 grams to 280 grams. Dorsey, 567 U.S. at 269, 132 S.Ct. 2321.
      Section 3 eliminated the 5-year mandatory minimum for simple possession
      of cocaine base. Id. These changes did not apply to defendants sentenced
      before August 3, 2010. Id. at 263, 132 S.Ct. 2321.

McDonald, 944 F.3d at 771. However,
      the Fair Sentencing Act did not modify the factual predicates necessary to
      trigger a mandatory life sentence under either [§§ 841(b)(1)(A) or
      841(b)(1)(B)], regardless of the quantity of drugs involved in the offense.
      See generally Fair Sentencing Act.

United States v. Carter, 792 F. App'x 660, 663 (11th Cir. 2019) (unpublished).
      Defendant was subject to a mandatory minimum of life on both Count 1 and Count
2. While in some instances a violation of § 841(b)(1)(A) is a covered offense, it is not
in this case because the portion of the statute defendant was convicted was not “modified
by section 2 or 3” of the Fair Sentencing Act. Section 2 of the Fair Sentencing Act only

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amended the drug quantity threshold necessary to trigger the statutory penalties set forth
in § 841(b)(1)(A) and did not alter the penalties themselves. The Fair Sentencing Act did
not change the penalties applicable to defendant because defendant’s § 851 enhancement
and the § 860 protected location conviction resulted in the mandatory life sentence.
Specifically, both before and after the Fair Sentencing Act, § 841(b)(1)(A) stated:
         If any person commits a violation of this subparagraph or of section 849,
         859, 860, or 861 of this title after two or more prior convictions for a felony
         drug offense have become final, such person shall be sentenced to a
         mandatory term of life imprisonment without release. . .2

That is the operative language that resulted in defendant’s mandatory minimum of life.3
Put another way, defendant would have been subject to the same statutory mandatory
minimum even if sentenced after the Fair Sentencing Act took effect.4 Accordingly, the
court finds that defendant is not eligible for relief pursuant to Section 404 of the FSA and
his motion is denied.
2.       Defendant’s Challenge to his Underlying Conviction
          In his motion brief (docket no. 128) defendant argues that, “[i]t is important to
note that Mr. Samuels was never charged or convicted of violating 21 U.S.C. §
841(b)(1)(A); therefore, he should not have been subject to a three-strikes enhancement



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    See both the 2007 and 2010 versions of 21 U.S.C. § 841(b)(1)(A).
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 The FSA did amend that portion of § 841(b)(1)(A). See Pub. L. No. 115-391, § 401(a)(2)(A),
132 Stat. 5194, 5220 (reducing the mandatory minimum for two prior convictions from life to
twenty-five years). However, that portion of the FSA was not retroactive. See Section 401(c).
Accordingly, for defendant to defeat the statutory mandatory minimum of life, he would need to
be resentenced under FSA Section 401, and that type of resentencing was specifically prohibited
by the FSA Section 401(c).

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 The U.S. Probation Office for the Northern District of Iowa has written a memo calculating
defendant’s amended statutory and guideline range, considering the Fair Sentencing Act and the
applicable changes to the Guidelines, which the court adopts. The memo prepared by U.S.
Probation will be filed contemporaneously with this order.
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under Section 851.” That argument is frivolous. As explained in the Government’s
brief:
          21 U.S.C. §841(b)(1)(A) specifically provided for a mandatory minimum
         of life imprisonment for a violation of § 860 after two or more prior felony
         drug convictions. Indeed, the Eighth Circuit Court of Appeals has
         recognized that the crime of distribution of a controlled substance within
         1,000 feet of a protected location, after two or more prior felony drug
         convictions, was punishable by a mandatory life sentence, regardless of the
         drug quantity. See United States v. Ford, 642 F.App’x []637, No. 14-3437
         (8th Cir. Apr. 28, 2016) (unpublished). The statutory language cited above
         did not change until the First Step Act was enacted in late 2018. Therefore,
         at the time of defendant’s sentencing, he was subject to a mandatory life
         sentence on each count.

(docket no. 131 at 5).
         Defendant’s argument that he was not convicted of violating § 841(b)(1)(A) is the
argument rejected by the Eighth Circuit in the Ford decision cited by the Government.
Although in the Ford case the defendant was charged with distributing heroin, rather than
crack cocaine, near a school, the structure of the § 841(b)(1)(A) sentence was the same
as in this case. As explained by the Eighth Circuit Court of Appeals:
         Ford overlooks the disjunctive “or,” which properly brings his conduct
         within the province of subsection (b)(1)(A)'s mandatory life sentence. A
         mandatory life sentence applies to any person who distributes certain
         quantities of controlled substance or to any person who violates § 860 “after
         two or more prior convictions for a felony drug offense.” 21 U.S.C. §
         841(b)(1)(A)(viii). Ford was convicted under § 860 after having been
         convicted of at least two prior felony drug offenses. That Ford was not
         charged under § 841(b)(1)(A) specifically does not make his sentence
         illegal.

Ford, 642 F. App’x at 639–40 (emphasis in original). For the same reason, defendant
was properly sentenced in this case.
         More importantly, defendant previously appealed his case to the Eighth Circuit
of Appeals, who specifically affirmed his life sentence pursuant to § 841(b)(1). United

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States v. Samuels, 543 F.3d 1013, 1021 (8th Cir. 2008). He renewed his argument in
the context of 28 U.S.C. § 2255 motion, which this court denied, stating, “[c]ontrary to
the movant’s assertions, the law required the court to sentence him to a mandatory life
sentence because of his prior convictions.”      (C09-1021-LRR, docket no. 11 at 3.)
Defendant filed a motion requesting a certificate of appealability in that case, which was
denied by the Eighth Circuit Court of Appeals.        (C09-1021-LRR, docket no. 20).
Accordingly, his argument that his underlying conviction was improper has been
exhausted and denied.
                                 IV.    CONCLUSION
      IT IS THEREFORE ORDERED:
      (1)    Both Defendant’s pro se motion pursuant to the FSA (docket no. 116) and
             amended motion (docket no. 128) are denied.
      DATED this 25th day of June, 2020.




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